    AO 472 (Rev. 3/86) Order of Detention Pending Trial


                                  United States District Court
                                                            Eastern District of Missouri
                     UNITED STATES OF AMERICA
                                           V.                                                      ORDER OF DETENTION PENDING TRIAL
      DWAUN BROWN                                                                 Case Number: 4:05 CR 230
                                   Defendant
         In accordance with the Bail Reform Act, 18 U.S.C. §3142(f) a detention hearing has been held. I conclude that the following facts require the
     detention of the defendant pending trial in this case.
                                                                 Part 1 - Findings of Fact
           (I)    The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal offense) (state or
                  local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed) that is
                         a crime of violence as defined in 18 U.S.C. §3156(a)(4).
                         an offense for which the maximum sentence is life imprisonment or death.
                         an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                                                      *

                         a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in
                         18 U.S.C. §3142(f)(1)(A)-(C), or comparable state or local offenses.
             (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
                  offense.
             (3) A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for the
                  offense described in finding (1).
             (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
                  assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                 Alternative Findings (A)
             (1) There is probable cause to believe that the defendant has committed an offense
                         for which a maximum term of imprisonment of ten years or more is prescribed in
                         under 18 U.S.C. §924(c).
             (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
                  reasonably assure the appearance of the defendant as required and the safety of the community.
                                                                  Alternative Findings (B)
             (1) There is a serious risk that the defendant will not appear.
             (2) There is a serious risk that the defendant will endanger the safety of another person or the community.
                     The Report of the Pretrial Services Office is incorporated by reference as if fully set out herein.




                                                          Part II - Written Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by
                           a preponderance of the evidence that                    clear and convincing evidence that
     the potential penalty, if convicted, may serve as an incentive to flee. Defendant has a history of failure to appear. His substance
     abuse (use of heroin daily for the last 10 months) may impair his ability to remain abreast of court appearances. The nature of the
     instant alleged offense in which defendant is charged with conspiracy to distribute and possess with the intent to distribute in excess
     of 1 kilogram of heroin poses a risk to the community. He has been unsuccessful of previous terms of supervision: probation was
     revoked once and parole revoked twice. He has a pending DUI in Illinois. It is alleged that at the time of his arrest on 6/27/05
     defendant was in possession of a firearm and controlled substances. Defendant states that the gun found at the time of his arrest
     belonged to his wife. He does
                                                      Part III - Directions Regarding Detention
          The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
     facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The de-
     fendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or
     on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the United States
     marshal for the purpose of an appearance in connection with a court proceeding.

    Dated: July 27, 2005                                                                           /s/Mary Ann L. Medler
                                                                                                                        Signature of Judicial Officer
                                                                                                  Mary Ann L. Medler United States Magistrate Judge
                                                                                                                    Name and Title of Judicial Officer
         *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. 5801        .); (b) Controlled Substances Import and Export Act (21 U.S.C. §951
                                                                                et seq                                                                          .): or (c) Section I of
                                                                                                                                                           et seq
    Act of Sept. 15, 1980 (21 U.S.C. §955a).
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     AO 472 (Rev. 3/86) Order of Detention Pending Trial
                                                                                                                     Page     2    Of    2
  DEFENDANT: DWAUN BROWN
 CASE NUMBER: 4:05 CR 230

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  not challenge his possession of controlled substances. Defendant challenges some of the items contained in the Criminal History Section
  of the Pretrial services Report which are noted: He has convictions for Possession of Marijuana under 2 ounces; Delivery of Marijuana;
  Unauthorized Use of a Vehicle; Delivery of a Controlled Substance; Unlawful Possession of a Controlled Substance; Attempted Murder
  First Degree ( defendant says this charge was dismissed and he pled Guilty to Armed Robbery); Aggravated Battery with a Firearm )
  defendant says this charge was reduced and he pled guilty to Battery; Armed Robbery with a Firearm and Obstruction of
  Justice/destruction of Evidence (defendant notes he was sentenced to time served) Unlawful Possession of Cannabis (defendant notes that
  at least it was marijuana not heroin). He has a pending DUI in Illinois. He has at least 35 traffic related arrests and numerous warrants for
  Failure to Appear. Defendant was on state parole supervision for the offense of Unlawful Possession of Cannabis when the instant offense
  occurred. there are no conditions or combinations of conditions that will assure the safety of the community and his appearance as
  required.




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